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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

 RICHARD COOEY, et al.,

                Plaintiff,

        v.                                            Case No. 2:04-cv-1156
                                                      JUDGE GREGORY L. FROST
 ROBERT TAFT, et al.,                                 Magistrate Judge Mark R. Abel

                Defendants.

                                    OPINION AND ORDER

        This matter is before the Court for consideration of the following sets of filings:

        (1) a motion to intervene filed by Mark W. Wiles (Doc. # 164) and a memorandum in

 opposition filed by Defendants (Doc. # 167);

        (2) a motion to intervene filed by Kevin Keith (Doc. # 169) and a memorandum in

 opposition filed by Defendants (Doc. # 182);

        (3) a motion to intervene filed by Billy Slagle (Doc. # 180), a memorandum in opposition

 filed by Defendants (Doc. # 192), a reply memorandum filed by Slagle (Doc. # 195), and a

 motion for an expedited ruling on the motion to intervene filed by Slagle (Doc. # 202);

        (4) a motion to intervene filed by Romell Broom (Doc. # 181), a memorandum in

 opposition filed by Defendants (Doc. # 191), a reply memorandum filed by Broom (Doc. # 196),

 and a notice of execution date and motion for an expedited ruling on the motion to intervene

 filed by Broom (Doc. # 199);

        (5) a motion to intervene filed by Jason Getsy (Doc. # 185) and a memorandum in

 opposition filed by Defendants (Doc. # 193); and

        (6) a motion to intervene filed by Jonathon Monroe (Doc. # 188) and a memorandum in
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 opposition filed by Defendants (Doc. # 194).

        For the following reasons, the Court DENIES AS MOOT the motions for expedited

 rulings (Docs. # 199, 202) and GRANTS the motions to intervene (Docs. # 164, 166, 180, 181,

 185, 188).

                                           I. Discussion

        Richard Cooey, a state prisoner sentenced to death by the State of Ohio, is the original

 plaintiff in the captioned 42 U.S.C. § 1983 civil rights action pending before this Court that

 challenges multiple facets of the lethal injection protocol used by the State of Ohio. The six

 individuals seeking to intervene raise similar claims. This Court shall briefly summarize the

 procedural posture of each potential intervenor.

        (1) Mark W. Wiles. The filings do not indicate when Wiles was sentenced to death and

 when (or even if) he sought habeas relief. Attachments to Wiles’ proffered complaint indicate

 that the Chief Inspector has denied Wiles’ grievance, thereby terminating his administrative

 remedy. Proceeding pro se, Wiles filed his motion to intervene on February 2, 2007. He does

 not have an execution date.

        Defendants oppose Wiles’ motion to intervene on all the grounds that they previously

 raised, unsuccessfully, as well as on the grounds that Wiles’ claim is time-barred by the statute

 of limitations as set forth in Cooey v. Strickland, 479 F.3d 412 (6th Cir. 2007). Defendants have

 not provided this Court with any of the dates relevant to Wiles.

        (2) Kevin Keith. Just as they failed to do with Wiles, the filings also inexplicably fail to

 indicate when Keith was sentenced to death and when (or even if) he sought habeas relief.

 Attachments to Keith’s proffered complaint do indicate that the Chief Inspector has denied


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 Keith’s grievance, thereby terminating his administrative remedy. Keith filed his motion to

 intervene on April 7, 2007. He does not have an execution date.

        Defendants oppose Keith’s motion to intervene on all the grounds that they previously

 raised, unsuccessfully, as well as on the grounds that Keith’s claim is time-barred by the statute

 of limitations as set forth in Cooey v. Strickland, 479 F.3d 412 (6th Cir. 2007). As noted,

 however, Defendants have also not provided this Court with any of the dates relevant to Keith.

        (3) Billy Slagle. Slagle was sentenced to death in April 1988. The briefing indicates that

 he unsuccessfully sought habeas relief. After the Sixth Circuit affirmed the denial of such relief

 on August 8, 2006, Slagle filed a certiorari petition that the United States Supreme Court denied

 on June 18, 2007. Attachments to Slagle’s proffered complaint indicate that the Chief Inspector

 has denied Slagle’s grievance, thereby terminating his administrative remedy. Slagle filed his

 motion to intervene on April 25, 2007, well before the expiration of his time for filing a petition

 for rehearing in the United States Supreme Court. Slagle does not have an execution date, but he

 has moved for an expedited decision on his motion to intervene. Today’s decision moots the

 motion to expedite.

        Defendants oppose Slagle’s motion to intervene on all the grounds that they previously

 raised, unsuccessfully, as well as on the grounds that Slagle’s claim is time-barred by the statute

 of limitations as set forth in Cooey v. Strickland, 479 F.3d 412 (6th Cir. 2007).

        (4) Romell Broom. Broom was sentenced to death in October 1985. The briefing

 indicates that he unsuccessfully sought habeas relief; the United States Supreme Court denied his

 certiorari petition on February 26, 2007 and subsequently denied a petition for rehearing.

 Attachments to Broom’s proffered complaint indicate that, after notable delay, the Chief


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 Inspector has denied Broom’s grievance, thereby terminating his administrative remedy. Broom

 filed his motion to intervene on April 25, 2007.

        Broom has a scheduled execution date of October 18, 2007 and has moved for an

 expedited decision on his motion to intervene. Today’s decision moots the motion to expedite.

        Defendants oppose Broom’s motion to intervene on all the grounds that they previously

 raised, unsuccessfully, as well as on the grounds that Broom’s claim is time-barred by the statute

 of limitations as set forth in Cooey v. Strickland, 479 F.3d 412 (6th Cir. 2007).

        (5) Jason Getsy. Getsy was sentenced to death in September 1996. The briefing

 indicates that his habeas proceedings are still before the Sixth Circuit; he first obtained habeas

 relief, but the Sixth Circuit reheard the matter en banc and has not yet issued a decision. Getsy

 has therefore not yet filed a certiorari petition in the United States Supreme Court, which means

 that the time for filing a petition for rehearing in the United States Supreme Court has not yet

 expired. Additionally, attachments to Getsy’s proffered complaint indicate that the Chief

 Inspector has denied Getsy’s grievance, thereby terminating his administrative remedy. Getsy

 filed his motion to intervene on May 1, 2007. He does not have an execution date.

        Defendants oppose Getsy’s motion to intervene on all the grounds that they previously

 raised, unsuccessfully, as well as on the grounds that Getsy’s claim is time-barred by the statute

 of limitations as set forth in Cooey v. Strickland, 479 F.3d 412 (6th Cir. 2007).

        (6) Jonathon Monroe. Monroe was sentenced to death in November 2002. He filed his

 motion to intervene on May 2, 2007, before the expiration of his time for filing a petition for

 rehearing in the United States Supreme Court on his habeas case. In fact, the briefing indicates

 that Monroe filed a petition for a writ of habeas corpus in 2007. Thus, he falls well before the


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 deadline this Court has previously recognized. Additionally, attachments to Monroe’s proffered

 complaint indicate that the Chief Inspector has denied Monroe’s grievance, thereby terminating

 his administrative remedy. Monroe does not have an execution date.

         Without conceding that he is entitled to intervene as a matter of law, Defendants do not

 oppose Monroe’s motion to intervene. (Doc. # 194, at 2.)

         A. Standard Involved

         In addressing both intervention as of right and permissive intervention, the Court must

 first determine whether the application to intervene is timely. Federal Rule of Civil Procedure

 24(a), which targets intervention of right, requires that the motion to intervene be timely. The

 rule states:

         Upon timely application anyone shall be permitted to intervene in an action . . .
         (2) when the applicant claims an interest relating to the property or transaction
         which is the subject of the action and the applicant is so situated that the
         disposition of the action may as a practical matter impair or impede the
         applicant’s ability to protect that interest, unless the applicant’s interest is
         adequately represented by existing parties.

 Fed. R. Civ. P. 24(a). Rule 24(b)(2), which targets permissive intervention, also includes a

 timeliness component. That rule provides:

         Upon timely application anyone may be permitted to intervene in an action: . . .
         (2) when an applicant’s claim or defense and the main action have a question of
         law or fact in common. . . . In exercising its discretion the court shall consider
         whether the intervention will unduly delay or prejudice the adjudication of the
         rights of the original parties.

 Fed. R. Civ. P. 24(b)(2).

         The timeliness component requires the Court to consider:

         (1) the point to which the suit has progressed; (2) the purpose for which
         intervention is sought; (3) the length of time preceding the application during
         which the proposed intervenor knew or reasonably should have known of his

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        interest in the case; (4) the prejudice to the original parties due to the proposed
        intervenor’s failure, after he or she knew or reasonably should have known of his
        interest in the case, to apply promptly for intervention; and (5) the existence of
        unusual circumstances militating against or in favor of intervention.

 United States v. Tennessee, 260 F.3d 587, 592 (6th Cir. 2001) (quoting Grubbs v. Norris, 870

 F.2d 343, 345 (6th Cir. 1989)).

        B. Exhaustion of Administrative Remedies

        Also relevant to this action is the Prison Litigation Reform Act (“PLRA”), which

 provides in part:

        No action shall be brought with respect to prison conditions under section 1983 of
        this title, or any other Federal law, by a prisoner confined in any jail, prison, or
        other correctional facility until such administrative remedies as are available are
        exhausted.

 42 U.S.C. §1997e(a). It is well settled that under this statute, the proper exhaustion of available

 administrative remedies, while not jurisdictional, is a mandatory pre-condition to the filing of an

 action in federal court challenging prison conditions. Woodford v. Ngo, 126 S. Ct. 2378, 2382-

 83 (2006). The Sixth Circuit has held that the PLRA requires inmates to exhaust their

 administrative remedies, even where doing so appears futile. See, e.g., Hartsfield v. Vidor, 199

 F.3d 305, 308-10 (6th Cir. 1999).

        Thus, this Court has required exhaustion in this and related litigation, dating back to the

 first pleadings by Richard Cooey and Adremy Dennis. (Doc. # 20 in Case No. 2:04-cv-532.)

 Other plaintiffs, such as John Hicks, had exhausted or attempted to exhaust their administrative

 remedies prior to filing in this Court. (Doc. # 26.)

        A notable issue arose with Jeffrey Hill. There, the Court had reviewed the Chief

 Inspector’s disposition of Hill’s lethal-injection grievance and had to conclude that there was no


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 administrative grievance process available. Thus, the Court permitted intervention in the

 absence of exhaustion. (Doc. # 35.) This rationale informed the Court’s decision on the motions

 to intervene of Johnnie Baston and Arthur Tyler. (Doc. # 54.)

        Things had changed by September 20, 2006, when this Court issued an Opinion and

 Order denying without prejudice Jeffrey Lundgren’s emergency motion to intervene. (Doc. # 73

 in Case No. 2:04-cv-1156.) That decision explained that because the Court had before it new

 evidence that the Chief Inspector was now addressing the merits of method-of-execution

 grievances, the Court had to conclude that an administrative remedy was now available.

 Therefore, because Lundgren had failed to exhaust administrative remedies–namely, a direct

 grievance to the Office of the Chief Inspector pursuant to Ohio Administrative Code § 5120-9-

 31–he had failed to comply with the PLRA and could not intervene. (Doc. # 73.) On October 5,

 2006, this Court then issued an Opinion and Order denying without prejudice Lundgren’s

 amended emergency motion to intervene, this time because of Lundgren’s failure to properly

 exhaust completely his administrative remedies. (Doc. # 86.) Following proper exhaustion,

 Lundgren successfully intervened. (Doc. # 92.)

        Thereafter, on October 24, 2006, this Court denied without prejudice a motion to

 intervene filed by Jerome Henderson, finding that he, too, had failed to exhaust his

 administrative grievance. (Doc. # 100.) After proper exhaustion, Henderson also successfully

 intervened. (Doc. # 124.)

        Following that intervention, a change in the applicable law occurred. Through the time

 of Henderson’s motion to intervene, the Sixth Circuit had required a prisoner to plead

 exhaustion. See, e.g., Brown v. Toombs, 139 F.3d 1102, 1104 (6th Cir. 1998) (“A prisoner


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 should attach to his § 1983 complaint the administrative decision, if it is available, showing the

 administrative disposition of his complaint.”); see also Knuckles El v. Toombs, 215 F.3d 640,

 642 (6th Cir. 2000) (“a prisoner must plead his claims with specificity and show that they have

 been exhausted by attaching a copy of the applicable administrative dispositions to the complaint

 or, in the absence of written documentation, describe with specificity the administrative

 proceeding and its outcome.”). After this Court had ruled on Henderson’s motion to intervene,

 however, the United States Supreme Court clarified that prisoners are not required to plead and

 demonstrate exhaustion in a complaint. See Jones v. Bock, 127 S. Ct. 910, 919 (2007) (reversing

 Sixth Circuit and holding that a prisoner need not plead exhaustion).

        The Supreme Court’s holding applied to the next potential intervenor in this litigation,

 James J. Filiaggi. Filiaggi sought to intervene despite the fact that he had never filed a grievance

 and exhausted his administrative remedies. Although Filiaggi was not required to plead

 exhaustion, his admissions rendered his motion problematic because granting the motion would

 have only led to mandated dismissal of his complaint. This Court therefore reasoned that

 Filiaggi’s seeking intervention in light of a certain dismissal conveyed an intent to delay his

 execution, not for purposes of receiving consideration of the substantive merits of his

 claims–because he could not for failure to exhaust–but simply for the sake of delay. The Court

 also noted Filiaggi’s admitted knowledge of the existence of this case and his delay in filing in

 concluding that denial without prejudice of Filiaggi’s motion to intervene was warranted.

          Filiaggi’s situation was distinguishable from intervenor Kenneth Biros, whom this

 Court had found to have fully exhausted his administrative remedies when the Chief Inspector

 failed, within thirty days of receiving Biros’s grievance, to respond or to show good cause, with


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 notice to Biros, for extending the time to respond.

         C. Analysis

         Pursuant to the reasoning set forth in this Court’s March 28, 2005 Opinion and Order

 (Doc. # 14), the statute of limitations on the six intervenor’s § 1983 claims did not begin to run

 until their executions became imminent (i.e., when the United States Supreme Court declined to

 review their habeas corpus cases or when the time for seeking United States Supreme Court

 review expired) and when they knew or had reason to know of the facts giving rise to their

 claims. Because all of the six potential intervenors fall within the statute of limitations identified

 by this Court, the Court can turn to the issue of whether the factors for intervention support the

 motions before the Court.

         In determining whether the six applications are timely, the first factor the Court must

 consider is the point to which the suit has progressed. See United States v. Tennessee, 260 F.3d

 587, 592 (6th Cir. 2001) (quoting Grubbs v. Norris, 870 F.2d 343, 345 (6th Cir. 1989)). It is

 beyond dispute that this litigation continues to remain in its early stages. On April 13, 2005, this

 Court issued an order granting Defendants’ request for an interlocutory appeal. (Doc. # 21.)

 That appeal has led to a panel decision, the denial of en banc review, and a stay tied to the

 preparation of a writ of certiorari. Consequently, this litigation has not even reached the

 discovery stage. Thus, by the time the six intervenors filed the motion to intervene sub judice,

 this Court had long before stayed the instant litigation, which has not progressed since. Because

 this litigation remains in its early stages, intervention at this point will not prejudice the original

 parties to this litigation.

         The second factor this Court must consider is the purpose for which intervention is


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  sought. This factor also militates in favor of finding that the six intervenors’ motions to

  intervene are timely. Just as the intervenors before them, all six have an obvious significant

  interest in the adjudication of this lawsuit. Each intervenor’s interest in seeing a comprehensive

  disposition of the shared questions of law and fact is obvious from the record and require no

  speculation.

         The third factor for this Court to weigh in determining whether the instant application is

  timely is the length of time preceding the applications during which the proposed intervenors

  knew or reasonably should have known of their interest in the case. This varies from intervenor

  to intervenor. Some, such as Wiles and Keith, present a potentially more problematic inquiry in

  light of the fact that the record does not reflect many of the dates involved in their respective

  procedural histories. The record nonetheless reflects some limited evidence supporting each

  intervenor, such as the fact that not all of them readily knew of the 2006 protocol change. For

  those who were recently litigating habeas actions (like intervenor-plaintiff Biros before them)

  and for those who are still litigating habeas action, they had and have no reason to recognize and

  act upon their significant interests in the outcome of Cooey’s lawsuit until their pursuit of habeas

  corpus relief ended.

         The fourth factor this Court must consider in determining whether the instant applications

  are timely is the prejudice to the original parties due to the proposed intervenors’ failure, after

  they knew or reasonably should have known of their interest in the case, to apply promptly for

  intervention. The Court has previously addressed this factor at length in regard to previous

  intervenors. This Court continues to find no undue or needless burden that the original parties

  will suffer if the six intervenors are permitted to join this lawsuit now. Given the procedural


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  posture of this stayed litigation, the Court concludes that permitting intervention here will

  neither unduly delay nor prejudice the adjudication of the rights of the original parties. Rather,

  permitting intervention here will facilitate the expeditious resolution of the rights of the original

  parties. See Secretary of Dept. of Labor v. King, 775 F.2d 666, 669 (6th Cir. 1985) (affirming

  allowance of permissive intervention on such grounds).

          The fifth and final factor for this Court to weigh in assessing the timeliness of the six

  motions to intervene is the existence of any unusual circumstances militating against or in favor

  of intervention. There are no unusual factors weighing against intervention, and the unsettled

  state of the law as described below perhaps weigh, if at all, in favor of intervention. To conclude

  otherwise would be to run the risk that constitutional rights go unprotected for some parties

  while other receive consideration.

          Having found that the motions to intervene are timely, the Court turns to the issue of

  whether the six proffered complaints and the main action have a question of law or fact in

  common. The Court concludes that they do. At the core of the tendered complaints is the same

  method-of-execution challenge that the other plaintiffs assert.

          Additionally, the six intervenors each have a significant interest in this case that cannot

  adequately be protected by the other plaintiffs because of the time-sensitive nature of their

  claims and the independent schedule that each faces. If there were to be no executions by the

  specific lethal injection protocol at the heart of this lawsuit until this litigation were resolved,

  then the Court might accept the argument that the six intervenors’ rights, as well as the rights of

  all other similarly-situated inmates, could adequately be protected by Cooey and the other

  plaintiffs already in this case. But it is ridiculous to suggest that Cooey can adequately protect


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  each intervenors’ rights when each intervenor might, like Bloom, very well face an execution

  date before Cooey. It is this factor that distinguishes such unreported decisions as Johnston v.

  Crawford, Case No. 4:04CV1075, pp. 2-3 (E.D. Missouri 2005), and Brown v. Beck, Case No.

  5:06-CT-3018, p. 2 (E.D. N.C. 2006). (Doc. # 110, at 8.) It is not apparent from these decisions,

  in which the courts denied motions to intervene in a pending § 1983 suit challenging the lethal

  injection protocol, the point to which those lawsuits had progressed or whether the proposed

  intervenors faced imminent execution dates such that the existing plaintiffs could not adequately

  protect the interests of the proposed intervenors.

         All of the foregoing factors support permissive intervention here. Because the Court

  decides, as it has with respect to every other motion to intervene that has been filed in this case,

  that the six intervenors have demonstrated that permissive intervention is warranted, it is

  unnecessary for the Court to determine whether they are entitled to intervention of right under

  Fed. R. Civ. P. 24(a)(2). See Sec’y of Dep’t of Labor v. King, 775 F.2d 666, 668 (6th Cir. 1985)

  (“Since we hold that the District Court did not abuse its discretion in allowing the Bank to

  intervene under Fed. R. Civ. P. 24(b)(2), we need not consider whether Fed. R. Civ. P. 24(a)(2)

  gave the Bank the right to intervene.”). Thus, all that remains for discussion is whether

  Defendants have raised any other grounds that defeat the six motions.

         D. The Cooey Panel Opinion

         Defendants oppose intervention on grounds previously raised before and previously

  rejected by this Court. They also again assert that intervention is an exercise in futility in light of

  a decision by a panel of the Sixth Circuit that disagreed with this Court’s statute of limitations

  holding and would compel dismissal of almost every plaintiff in this litigation. This latter


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  argument again proves similarly unsuccessful, however, because Defendants continue to fail to

  credit the actual as opposed to the potential status of this litigation and the opinion of the Sixth

  Circuit.

         As it has explained previously, this Court is of course well aware that a Sixth Circuit

  panel has issued an opinion that would overrule this Court’s interpretation of the statute of

  limitations for method-of-execution challenges raised under § 1983. See Cooey v. Strickland,

  479 F.3d 412 (6th Cir. 2007). That March 2, 2007 opinion states that the appropriate date for

  commencement of the limitations period for a § 1983 challenge on Eighth Amendment grounds

  to a state’s execution protocol is upon conclusion of direct review of the death sentence in the

  state court or the expiration of time for seeking such review, and that the limitations period

  applicable to the instant action commences no later than when the challenged protocol became

  Ohio’s exclusive method of execution, i.e., 2001. Cooey, 479 F.3d at 422.

         The Cooey panel decision presents yet another unusual twist in a case that has seen a

  notable amount of curious developments. That twist is the lack of clarity as to what effect the

  panel opinion has in this litigation.

         Another Sixth Circuit panel referenced the Cooey panel decision in the recent case of

  Workman v. Bredesen, ___ F.3d ___, 2007 WL 1311330 (6th Cir. May 7, 2007). The dissent in

  that case cautioned against applying Cooey because “it [wa]s not yet a final judgment owing to

  the pendency of a petition for rehearing en banc.” Workman, 2007 WL 1311330, at * n.1 (Cole,

  J., dissenting). This rationale applied to this Court’s not applying Cooey to Clarence Carter.

         When this Court was addressing intervenor Carter’s motion for injunctive relief to stay

  his scheduled July 2007 execution, the Sixth Circuit had still not yet ruled on a March 13, 2007


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  request for a rehearing and suggestion for rehearing en banc of the panel decision. Accordingly,

  the appellate court had not yet issued its mandate in the case. See Fed. R. App. P. 41(d)(1) (“The

  timely filing of a . . . petition for rehearing en banc . . . stays the mandate until disposition of the

  petition or motion, unless the court orders otherwise.”). Contrary to Defendants’ repeated

  assertions to the contrary, the March 2, 2007 appellate opinion was therefore of no effect in this

  case at that time. See 5 Am. Jur. 2d Appellate Review § 776 (2d ed. 2002) (“until the mandate is

  issued, the lower court order remains in effect, even if vacated on appeal”). This Court therefore

  proceeded to apply its interpretation of the law that remained and remains in effect until the

  Sixth Circuit’s mandate issues.

          The day after this Court discussed the absence of a Cooey mandate and granted Carter a

  preliminary injunction (Doc. # 197), the Sixth Circuit denied en banc consideration (Doc. # 198).

  The mandate still did not issue, however, because on June 12, 2007 the Sixth Circuit released an

  Order that read:

                  Upon consideration of appellee’s motion to stay mandate,
                  It is ORDERED that the mandate be stayed to allow appellee time to file
          a petition for a writ of certiorari, and thereafter until the Supreme Court disposes
          of the case, but shall promptly issue if the petition is not filed within ninety days
          from the date of final judgment by this court.

  (Doc. # 201.) Thus, the question is whether the March 2, 2007 appellate opinion remains

  persuasive but non-binding precedent at this time and in this specific case.

          By staying issuance of the mandate, the Sixth Circuit has told this Court not to enforce

  Cooey in this specific litigation at this time. Therefore, whatever effect that opinion eventually

  has on this case, the most dramatic of which would compel the dismissal of most of the

  plaintiffs, the Cooey panel opinion can not control this Court’s analysis in this case until the


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  mandate issues and Cooey becomes controlling precedent. See Pizzuto v. Arave, 280 F.3d 949,

  977 (9th Cir. 2002) (Fletcher, J., concurring in part and dissenting in part) (recognizing that “[an]

  opinion has no precedential value until the mandate issues”).

         This Court is aware that there is some authority arguably supporting application of the

  Cooey panel decision to various inmates (such as those who file separate § 1983 cases as

  opposed to intervening here). For example, there is Ninth Circuit case law recognizing that a

  panel decision is the law of that Circuit, despite the fact that the appellate court stayed issuance

  of the mandate in that case pending certiorari consideration by the United States Supreme Court.

  United States v. Gomez-Lopez, 62 F.3d 304, 306 (9th Cir. 1995). There is, however, also an

  earlier reported Ninth Circuit case explaining that until a mandate issues, an opinion is not yet

  fixed as settled circuit law. United States v. Ruiz, 935 F.2d 1033, 1037 (9th Cir. 1991).

         At least one district judge in this Circuit has applied Cooey as controlling precedent. See

  Moore v. Rees, No. 06-CV-22-KKC, 2007 WL 1035013, at *9 n.5, *20 (E.D. Ky. Mar. 30,

  2007). That case is obviously distinguishable because it was not part of the very litigation in

  which the mandate was stayed. When one considers law-of-the-case implications of applying

  the Cooey panel decision in this case in the absence of a mandate, adherence to the status quo

  appears required.

         It is admittedly curious to say that Cooey currently applies everywhere but in this case.

  But it would work a curious injustice to deny intervention to most of the six applicants here

  based on the panel decision when this Court is without the ability to cite the panel decision as

  authority to dismiss most of those plaintiffs already in this case.

         The obvious question is why this Court should not simply apply the rationale of the Sixth


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  Circuit. Two judges of the appellate panel issued a rationale disagreeing with this Court, and an

  insufficient number of judges on the appellate court voted to consider that decision. Despite the

  absence of a mandate, it does not take a particularly astute legal scholar to ascertain the probable

  result of the Sixth Circuit’s actions. But there is no basis to outright ignore the law of the case

  and credit a decision that is not yet controlling law in this specific litigation and that may or may

  not become binding law here, based on what the Supreme Court does. This Court cannot base its

  decisions on what it is likely to become the controlling law in this specific case. Probabilities are

  not a cognizable substitution for jurisprudence. Therefore, in the absence of controlling contrary

  authority in this case, this Court has considered itself, and continues to consider itself, bound by

  oath to follow what it considers is the law of the case–i.e., this Court’s undisturbed prior holding.

  In the absence of a contrary mandate, it is this Court’s prior decision that must govern this

  litigation.

          Of course, it is dicta for this Court to express an opinion on the correctness of the Cooey

  panel decision. Certainly, once able, this Court will not hesitate to apply the Cooey decision

  here. Because the Sixth Circuit’s stay precludes applying Cooey here, however, and because

  there may be some value in weighing in on that appellate opinion while the parties prepare their

  certiorari briefing, the Court also cautiously notes that it thinks the Cooey panel’s statute-of-

  limitations holding is an incorrect construction of § 1983 as it applies here. Respectfully, the

  panel opinion presents an as-yet unimplemented in this case discussion of the law that arguably

  conflates a distinct § 1983 action with habeas law and impermissibly injects wholly equitable

  concerns into a strictly law-based statute-of-limitations issue. The manner in which both

  occurred often confounds logic.


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         More than one other court has also disagreed with the Cooey panel decision. Although it

  constitutes a lengthy quotation, one such judge’s cogent analysis warrants reproduction here:

         [T]he Cooey majority (and the defendants in this case) made two errors in their
         statute-of-limitations analysis. First, they based their analysis on the model of a §
         1983 lawsuit seeking damages for a constitutional violation that took place in the
         past; whereas a method-of-execution lawsuit seeks injunctive relief for an
         allegedly unconstitutional act that has not yet occurred. Second, the interests they
         identified that might lead a court to conclude that a late-filing plaintiff’s suit
         should be time-barred are not the sorts of interests that bear on a
         statute-of-limitations defense; rather, they are equitable interests that should be
         considered along with Jones’s motion for a stay of execution.

                At the outset, the court notes that Cooey remains unsettled law. . . .

                 As to the legal merits of the majority opinion in Cooey, and the
         defendants’ statute-of-limitations defense here, this court is of the opinion that
         Cooey’s reliance on certain language from Wallace, 127 S.Ct. 1091, is misplaced.
         Cooey cites statements from Wallace that “accrual occurs when the plaintiff has
         complete and present cause of action,” and “when the plaintiff can file suit and
         obtain relief.” Cooey, 479 F.3d at 416 (quoting Wallace, 127 S.Ct. at 1095)
         (internal quotation marks and brackets omitted). But Wallace is in many ways a
         typical § 1983 suit: the plaintiff sued police officers for false arrest, which the
         court analogized for accrual purposes to the common-law tort of false
         imprisonment. Wallace, 127 S.Ct. at 1095. That is, like most § 1983 suits, the
         plaintiff in Wallace sought relief for an unconstitutionally tortious act that had
         already occurred; the question for the court was whether the § 1983 claim accrued
         at the moment of the arrest, when legal process began, or when the arrestee was
         acquitted of the underlying charged offense. Id. at 1095-96. By contrast, Jones’s
         suit presents a somewhat atypical § 1983 claim: Jones is suing to prevent the State
         from committing an allegedly unconstitutionally tortious act in the future.
         Because a suit for injunctive relief to prevent a tortious act from occurring in the
         future is unlike the typical suit that is predicated on a tortious act that has already
         occurred, the court thinks it appropriate to look beyond the language of Wallace
         that the majority quotes in Cooey.

                 This is not to say that Wallace should be ignored. On the contrary,
         Wallace instructs the court that “[a]spects of § 1983 which are not governed by
         reference to state law are governed by federal rules conforming in general to
         common-law tort principles.” Wallace, 127 S.Ct. at 1095. And according to the
         Restatement (Second) of Torts, “the statute [of limitations] does not usually begin
         to run until the tort is complete,” and a “tort is ordinarily not complete until there
         has been an invasion of a legally protected interest of the plaintiff.” Rest.2d Torts

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        § 899 cmt. c. See Albertson v. T.J. Stevenson & Co., 749 F.2d 223, 228 (5th
        Cir.1984) (“It is generally accepted that a cause of action for a tort accrues when
        there has been an invasion of the plaintiff's legally protected interest. Ordinarily,
        this invasion occurs at the time the tortious act is committed.” (emphasis added));
        51 Am. Jur.2d Limitation of Actions § 167 (“cause of action in tort accrues when
        a wrongful act causes a legal injury”); 54 C.J.S. Limitations of Actions § 193 (“A
        cause of action sounding in tort generally accrues at, and limitations begin to run
        from, the date on which the act causing the injury is committed . . . .”). In fact,
        Wallace itself states: “Under the traditional rule of accrual . . . the tort cause of
        action accrues, and the statute of limitations commences to run, when the
        wrongful act or omission results in damages.” 127 S.Ct. at 1097 (quoting 1 C.
        Corman, Limitation of Actions § 7.4.1, at 526-27 (1991)).

                Thus, in a case where the plaintiff seeks an injunction pursuant to 42
        U.S.C. § 1983 to prevent an unconstitutionally tortious act from occurring in the
        future, such a claim cannot be barred by the statute of limitations because the
        tortious act has not yet occurred and the tort is not yet complete.

                In Cooey, the majority reasoned that the tortious act could not mark
        accrual of the claim “because the death-sentenced inmate’s claim would not
        accrue until he was executed, at which time it would also be simultaneously
        moot.” Cooey, 479 F.3d at 418. But this statement implies, and wrongly
        assumes, that a plaintiff cannot bring suit before the claim accrues for
        statute-of-limitations purposes. Such reasoning is irreconcilable with the broad
        equitable powers of a federal court under 42 U.S.C. § 1983, which surely include
        the power to enjoin a defendant from committing an unconstitutional act before
        such act occurs where such act would cause irreparable harm. See Mitchum v.
        Foster, 407 U.S. 225, 242, 92 S.Ct. 2151, 32 L.Ed.2d 705 (1972) (“Congress
        plainly authorized the federal courts to issue injunctions in § 1983 actions, by
        expressly authorizing a 'suit in equity' as one of the means of redress. And this
        Court long ago recognized that federal injunctive relief ... can in some
        circumstances be essential to prevent great, immediate, and irreparable loss of a
        person's constitutional rights.”). There is simply no reason why, in order for a
        plaintiff to seek injunctive relief to prevent a future unconstitutional harm from
        occurring, the statute-of-limitations clock must already be ticking.

                Of course, one can always argue that the ‘harm’ in a case such as this one
        occurs when the State establishes its execution policy, sentences a capital
        defendant to death, or when the inmate otherwise becomes aware that his death
        might be an unconstitutionally painful one. In fact, at oral arguments, the
        defendants in this case argued that Jones’s knowledge that he was to be executed
        constituted the ‘harm’ that caused his claim to accrue. But such reasoning is
        problematic for two reasons. First, Jones’s lawsuit complains of an Eighth
        Amendment violation; thus, the ‘harm’ in Jones’s case must be an

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        unconstitutional harm. Knowledge of a needless risk of a painful death at the
        hands of the State does not itself violate the Constitution; only the execution itself
        would. Second, by requiring the courts to identify an event that precedes the
        execution as the event by which the claim accrues, the law would create a
        hopelessly moving target that is difficult to define non-arbitrarily: Does the claim
        accrue when the conviction becomes final? At the end of habeas review? When
        the execution date is set? When (and if) the State alters its execution protocol?
        There is no rhyme or reason in choosing among these options precisely because
        they are little more than stand-ins for the actual tortious event the court would
        otherwise look for in a run-of-the-mill § 1983 case. In sum, because the
        execution itself is the event Jones claims would violate his constitutional rights, it
        defies logic, and is contrary to the common law of torts, to conclude that the
        statute of limitations has already run on a suit to prevent an unconstitutional act
        that has not yet occurred.

                Similarly, the Cooey majority risks conflating accrual and ripeness. The
        Cooey majority cites a Fifth Circuit case, Neville v. Johnson, 440 F.3d 221, 222
        (5th Cir. 2006) (per curiam), to demonstrate that it is not too early to mount a
        method-of-execution challenge once a conviction has become final upon
        completion of direct review. But this merely proves that method-of-execution
        claims are ripe for adjudication at such time. Whether they must be brought
        within two years of such time is a different question. To be sure, once a claim has
        accrued it is necessarily ripe; but the converse, that once a claim is ripe it has
        necessarily accrued for statute-of-limitations purposes, need not follow. Where,
        as here, the plaintiff challenges the constitutionality of an event that has not yet
        occurred, the claim may be ripe for adjudication without having accrued for
        statute-of-limitations purposes.

                 This conclusion finds support in the historical and policy reasons behind
        statutes of limitations. See Rheingold, Solving Statutes of Limitations Problems,
        4 Am.Jur. Trials 441, § 2 (“Since there is some leeway in the interpretation of the
        statutes and their application to new issues, the policy or purpose behind the
        employment of limitations, with special reference to personal injury actions,
        merits consideration.”). Traditionally, the purpose of a statute of limitations was
        to protect defendants from “stale actions,” where evidence has been lost,
        memories have faded, witnesses have perished or are difficult to track down, and
        the defendants themselves have moved on with their lives in reliance on the fact
        that plaintiffs have decided not to bring their claims. See 51 Am.Jur.2d
        Limitation of Actions § 15 (“Protecting potential defendants from stale actions;
        lost evidence”); 54 C.J.S. Limitations of Actions § 2 (“Statutes of limitations
        ordinarily are regarded as statutes of repose whose purpose is to prevent the
        litigation of stale claims.”). None of these policy reasons behind a statute of
        limitations applies to a case where the plaintiff's injury has yet to occur. Nothing
        in this case is “stale,” because the defendants are still planning on carrying out the

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        complained-of act, and quite soon.

                 Traditionally, then, the farther away in time from the tortious act, the
        staler the claim and the greater the defendants' interest in a statute of limitations
        barring it. But in this case, the defendants urge that the statute of limitations take
        effect as we move closer in time to the complained-of act. In light of the
        historical and policy reasons behind statutes of limitations, the defendants’
        approach makes little sense.

                To be sure, States do have a “significant interest in meting out a sentence
        of death in a timely fashion.” Nelson v. Campbell, 541 U.S. 637, 644, 124 S.Ct.
        2117, 158 L.Ed.2d 924 (2004). And plaintiffs’ interests in pursuing their claims
        are severely diminished when they have slept on their rights either inexcusably or
        with intent to delay. Delta Theatres, Inc. v. Paramount Pictures, Inc., 398 F.2d
        323, 325 (5th Cir.1968) (“No plaintiff should be permitted to sleep on his rights
        and harass a defendant with . . . unreasonable delay.”). But these are equitable
        considerations that must be considered by a court that is asked to stay a § 1983
        plaintiff's scheduled execution. Hill I, 126 S.Ct. at 2104 (“A court considering a
        stay must also apply ‘a strong equitable presumption against the grant of a stay
        where a claim could have been brought at such a time as to allow consideration of
        the merits without requiring entry of a stay.’ ” (quoting Nelson, 541 U.S. at 650,
        124 S.Ct. 2117)); see also McQuiddy v. Ware, 20 Wall. 14, 87 U.S. 14, 19, 22
        L.Ed. 311 (1873) (“Equity always refuses to interfere where there has been gross
        laches in the prosecution of rights.” (emphases added)); 30A C.J.S. Equity § 115
        (“Equity aids the vigilant, not those who slumber on their rights.”). These
        equitable considerations, moreover, are not driven by the policies underlying a
        statute-of-limitations defense. See Speidel v. Henrici, 120 U.S. 377, 387, 7 S.Ct.
        610, 30 L.Ed. 718 (1887) (“Independently of any statute of limitations, courts of
        equity uniformly decline to assist a person who has slept upon his rights, and
        shows no excuse for his laches in asserting them.” (emphasis added)). Thus, to
        the extent the defendants in this case seek to assert the statute-of-limitations
        defense because Jones was dilatory in bringing his claim or because Jones's
        lawsuit needlessly threatens to interfere with his scheduled execution, these
        interests can be vindicated when the court takes up Jones’s motion for a stay of
        execution; indeed, they should not be considered until that time.

                In fact, it appears the Cooey majority’s statute-of-limitations analysis is
        largely driven by equitable considerations. In concluding that a
        method-of-execution claim accrues when a prisoner’s conviction becomes final
        on direct review, the majority reasons that a later accrual date will interfere with
        the “vital yet delicate balance between state and federal relations,” Cooey, 479
        F.3d at 419, the State's interest in timely executions, id., and Congress's intent,
        under the Antiterrorism and Effective Death Penalty Act of 1996 (AEDPA), “to
        advance the doctrines of comity, finality, and federalism,” id. at 420 (quoting

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         Williams v. Taylor, 529 U.S. 420, 120 S.Ct. 1479, 146 L.Ed.2d 435. 436 (2000)
         (brackets omitted)). But these considerations, while legitimate, are wholly
         equitable in nature, and arise independent of the statute of limitations. They
         should be taken into consideration, and can be vindicated, when, for example, the
         court is called upon to enter a stay of execution so as to allow the plaintiff's §
         1983 suit to proceed. These equitable considerations would also come into play
         in the context of a laches defense, where the court must consider such factors as
         the plaintiff's delay in bringing suit, whether such delay was excusable, and
         whether such delay prejudices the defendant. See 30A C.J.S. Equity § 131; 27A
         Am.Jur.2d Equity § 141; see also, e.g., Venus Lines Agency, Inc. v. CVG Int'l
         Am., Inc., 234 F.3d 1225, 1230 (11th Cir.2000) (“The equitable doctrine of laches
         will bar a claim when three elements are present: (1) a delay in asserting a right or
         a claim; (2) that the delay was not excusable; and (3) that there was undue
         prejudice to the party against whom the claim is asserted.” (internal quotation
         marks omitted)).

                 In sum, the Cooey majority, and the defendants in this case, misapprehend
         the statute of limitations as it applies to a § 1983 case such as this one. First, they
         err in concluding that the statute of limitations can run on a claim that, rather than
         seeking relief for an unconstitutional act that has already occurred, seeks
         injunctive relief to prevent an irreparable constitutional violation from occurring
         in the future. Second, although the State has legitimate interests in carrying out
         timely executions and avoiding litigation where the plaintiff has indulged in
         inexcusable delay, those interests are not the ones that underlie a
         statute-of-limitations defense. Rather, they are equitable interests and in this case
         can be considered when deciding the plaintiff’s motion for a stay of execution.

  Jones v. Allen, 483 F. Supp. 2d 1142, 1147-151 (M.D. Ala. 2007) (footnotes deleted; emphasis

  added). At least one other judge has adopted the Jones analysis. See Grayson v. Allen, No.

  2:06-cv-1032-WKW, 2007 WL 1491009, at *4 (M.D. Ala. May 21, 2007) (explicitly rejecting

  Cooey statute-of-limitations analysis in favor of Jones analysis).

         The Court is cognizant of the foregoing critiques of the Cooey panel opinion. Nothing in

  that panel opinion altered this Court’s opinion of what a correct statement of the law should be.

  This Court again notes, however, that once the appellate mandate issues, the Court is absolutely

  bound to follow the then-controlling panel decision. Until then, this Court must adhere to what it

  thinks the law of the case is, which means the Cooey decision does not defeat intervention here.

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                                           II. Conclusion

         For the foregoing reasons, the Court DENIES AS MOOT the motions for expedited

  rulings (Docs. # 199, 202) and GRANTS the motions to intervene (Docs. # 164, 169, 180, 181,

  185, 188). The Clerk shall therefore detach the proffered complaints of each of the six new

  intervenors and file said pleadings on the docket.

         IT IS SO ORDERED.

                                                        /s/ Gregory L. Frost
                                                       GREGORY L. FROST
                                                       UNITED STATES DISTRICT JUDGE




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